              IN THE DISTRICT COURT OF THE UNITED STATES
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                          ASHEVILLE DIVISION
                               1:05CR256-8

UNITED STATES OF AMERICA,                                 )
                                                          )              AMENDED 1
Vs.                                                       )              ORDER
                                                          )
JULIE PONICE McCULLOUGH.                                  )
__________________________________                        )

       THIS MATTER is before the court upon defendant’s Motion for a Bill of Particulars.

Review of such motion reveals that defendant raises the following issues:

       (1)    the Bill of Indictment is insufficient because it contains only legal conclusions;

       (2)    the Bill of Indictment is improper because no overt acts were alleged; and

       (3)    there is a double jeopardy concern because of a prior state conviction.

For relief from such purported errors, defendant seeks a Bill of Particulars. The United

States has filed a timely response, to which no reply has been filed.

       A true Bill of Indictment was returned in this matter on or about October 24, 2005.

Count One of the Bill of Indictment alleges that from in or around January 2003 and

continuing until the present, in Cleveland County, which is within the Western District of

North Carolina, and elsewhere, that the defendant, along with eleven others did knowingly

and intentionally combine, conspire, confederate and agree with others, both known and

unknown to the Grand Jury, to possess with intent to distribute cocaine base, a schedule II




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              Amended Order entered to correct typographical errors in original. Amendments
have been underlined to aid review by respective counsel.


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controlled substance. The Grand Jury found that such alleged conspiracy involved more than

500 grams of a mixture or substance containing a detectable amount of methamphetamine,

in violation of Title 21, United States Code, Sections 841 and 846. Review of such

indictment reveals that it is consistent with the standard drug conspiracy indictment returned

in this district for years.2 The court will now address each of defendant’s contentions.

I.     Bill of Indictment Contains Only Legal Conclusions

       Defendant first contends that a Bill of Particulars is warranted because the indictment

contains only legal conclusions. Specifically, defendant argues that “the indictment contains

a de minimis allegation of conspiracy that does no more than track the statutory language of

the conspiracy statute.” Motion, at 2. The Supreme Court has long held, however, that no

more is required:

              Petitioners attack the sufficiency of the indictment under which they
       were charged for two reasons: first, that it charged them only in the statutory
       language . . . and, second, that the indictment failed to give them adequate
       notice of the charges against them.
                                             ***
              Our prior cases indicate that an indictment is sufficient if it, first,
       contains the elements of the offense charged and fairly informs a defendant of
       the charge against which he must defend, and, second, enables him to plead an
       acquittal or conviction in bar of future prosecutions for the same offense. It is
       generally sufficient that an indictment set forth the offense in the words of the
       statute itself, as long as those words of themselves fully, directly, and
       expressly, without any uncertainty or ambiguity, set forth all the elements
       necessary to constitute the offence intended to be punished.

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              The only variation of note is the allegation that defendants conspired with
“others” rather than each other. In the Superseding Bill of Indictment returned on
December 6, 2005, the Grand Jury now alleges that the defendants conspired “with each
other and others, both known and unknown to the Grand Jury.”

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Hamling v. United States, 418 U.S. 87, 117 (1974) (citations and corresponding quotation

marks omitted). The indictment in this case provides defendant with the approximate dates

of the alleged conspiracy, the county within the district that such alleged conspiracy

purportedly took place, a charge which tracks the language of the applicable statutes, the

names of alleged coconspirators, and a specification as to the minimum amount and type of

controlled substance involved. The court can find absolutely no legal merit in defendant’s

contention that the Bill of Indictment is insufficient because it contains only legal

conclusions.

II.    Failure to Allege Overt Acts

       Defendant next contends that a Bill of Particulars is warranted because the Bill of

Indictment contains no allegations as to any overt acts in furtherance of the alleged

conspiracy. As a sub-contention, defendant assigns error to the fact that the United States

has not named the “other” persons with whom she allegedly conspired. See F.N.1.

       The Supreme Court has for more than a decade held that the United States may charge

a drug conspiracy using only the statutory language, and that an overt act need not be pleaded

or even proved.

       What the Ninth Circuit failed to recognize we now make explicit: In order to
       establish a violation of 21 U.S.C. § 846, the Government need not prove the
       commission of any overt acts in furtherance of the conspiracy.

United States v. Shabani, 513 U.S. 10, 15 (1994). The Court in Shabani went on to hold that

drug conspiracies may be charged using only the statutory language and do not require an



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overt act to be pleaded or proved, id., inasmuch as it is not an essential element of a Section

846 conspiracy. United States v. Bolden, 325 F.3d 471, 491 (4 th Cir. 2003).

       As to defendant’s sub-contention that the indictment is defective because the language

“others unknown to the grand jury” does not specify “who those individuals are or what their

participation in the alleged conspiracy was,” there is no requirement that the government

name or otherwise identify in the charging instrument the names of unindicted

coconspirators. Indeed, to name unindicted coconspirators in the charging instrument would

violate fundamental fairness, which has long been recognized in the Fourth Circuit:

                There is no place in a criminal indictment for mention of a person
       accused of crime who is not formally accused of that crime by being indicted.
       The grand jury's task, in the exercise of its dual role, is to determine whether
       there is sufficient evidence against a specific individual charged with a specific
       crime to justify a trial.
                                              ***
       There can be little doubt that the naming of persons as unindicted co-
       conspirators is a calumniation of private citizens. It is in direct contradiction
       to the purpose and protections of the normal indictment system, in which
       charges against an individual . . . being considered need not be made known
       until it has been determined that there are grounds to hold him to answer.

Application of Jordan, 439 F.Supp. 199, 204 (S.D.W.Va. 1977)(citations and corresponding

quotation marks omitted). The proper place for a defendant to find names of unindicted

coconspirators is in the discovery materials, which is made simple in this district through the

government’s open file policy. See F.N.1.

       The court can find no legal merit to defendant’s contention that the Bill of Indictment

is improper because no overt acts were alleged and no unindicted coconspirators were



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named.

III.   Double Jeopardy

       Finally, defendant contends that a Bill of Particulars is warranted because of the

possibility of double jeopardy arising from a felony drug conviction in the North Carolina

General Court of Justice, Superior Court Division, for Cleveland County. This contention

has been long resolved by the separate sovereigns doctrine.

       Double jeopardy can exist only where a defendant is placed in jeopardy before the

trier of fact with jurisdiction over both the subject matter and the defendant. Nottingham v.

Zahradnick, 573 F.2d 193 (4th Cir.), cert. denied, 439 U.S. 970 (1978). Under the dual-

sovereignty concept, prosecution under federal law does not prohibit prosecution of the same

person for the same act under state law; consequently, state prosecution does not bar action

in federal court. Abbate v. United States, 359 U.S. 187 (1959); Bartkus v. Illinois, 359 U.S.

121 (1959); United States v. Iaquinta, 674 F.2d 260 (4th Cir. 1982). In Heath v. Alabama,

474 U.S. 82, 88 (1985), the Supreme Court held:

               The dual sovereignty doctrine is founded on the common-law
       conception of crime as an offense against the sovereignty of the government.
       When a defendant in a single act violates the "peace and dignity" of two
       sovereigns by breaking the laws of each, he has committed two distinct
       "offences." United States v. Lanza, 260 U.S. 377, 382 (1922). As the Court
       explained in Moore v. Illinois, 14 How. 13, 19 (1852), "[a]n offence, in its
       legal signification, means the transgression of a law." Consequently, when the
       same act transgresses the laws of two sovereigns, "it cannot be truly averred
       that the offender has been twice punished for the same offence; but only that
       by one act he has committed two offences, for each of which he is justly
       punishable." Id., at 20.



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Id. Under the dual-sovereignty doctrine, defendant may be tried and convicted twice based

on the same substantive act if such conduct offends two sovereigns.

       To the extent that defendant may be attempting to use the United States’ Petite Policy

as a Bar to this action, that policy is no more than a "housekeeping provision" of the United

States Department of Justice and does not entitle defendant to the relief sought in this motion.

United States v. Howard, 590 F.2d 564, 567-68 (4th Cir.), cert. denied, 440 U.S. 976 (1979).

       The court can find no merit in defendant’s contention that a Bill of Particulars is

Warranted because there is a double jeopardy concern based on a prior state conviction.

IV.     Conclusion

       Having considered defendant’s Motion for a Bill of Particulars and reviewed the

pleadings, it appears good cause has not been shown for the relief sought. Defendant has not

shown that the information sought is unavailable through the open-file policy. A bill of

particulars is appropriate where the indictment is sufficient to charge an offense, but

insufficient to inform defendant of the particulars as to which he will have to defend at trial.

United States v. Debrow, 346 U.S. 374 (1953). A bill of particulars is not, however, a

discovery device, and cannot be used to bring about a result prohibited by Rule 16, Federal

Rules of Criminal Procedure. Wong Tai v. United States, 273 U.S. 77 (1927). The function

of a bill of particulars is to inform the defendant of the essential facts on which the charges

are based in order to aid defense preparation. United States v. Schembari, 484 F.2d 931 (4th

Cir. 1973). See also United States v. Duncan, 598 F.2d 839 (4th Cir.), cert. denied, 444 U.S.



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871 (1979).

      The proper scope and function of a bill of particulars is not to obtain disclosure
      of evidence to be offered by the government at trial, but to minimize surprise,
      to enable movant to obtain such facts as are needed to prepare his defense, and
      to preclude a second prosecution for the same offense. A bill of particulars is
      not intended to give a defendant the benefits of the government's investigative
      efforts. Nor may it be used to compel disclosure of the government's legal
      theory prior to trial. A defendant is only entitled to know those central facts
      which will enable him to conduct his own investigation of the transactions that
      resulted in the charge against him. Moreover, a defendant is `not entitled to
      compel the government to describe in detail the manner in which the crime
      was committed, thereby forcing the prosecution to fix irrevocably the
      perimeters of its case in advance of trial.'

United States v. Stroop, 121 F.R.D. 269 (E.D.N.C. 1988) (citations omitted; quoting United

States v. Manotti, 323 F. Supp. 683, 696 (D. Del. 1971)).

      The motion will be denied.




                                          ORDER

      IT IS, THEREFORE, ORDERED that defendant’s Motion for a Bill of Particulars

is DENIED.




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                   Signed: December 21, 2005




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